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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20706

QUENTIN SHERER,

             Defendant.
                                                /

             ORDER TERMINATING AS MOOT THE GOVERNMENT’S
             MOTIONS TO COMPEL DNA SAMPLE FROM DEFENDANT

      During a pretrial conference held on December 22, 2011, the Government moved

the court to compel Defendant to provide a DNA sample to facilitate laboratory testing of

evidence recovered in this case. Defendant initially refused to supply such a sample,

prompting the Government to file two written motions to compel on December 27, 2011,

and January 17, 2012. However, after Defendant obtained substitute counsel, he filed a

response indicating he would voluntarily provide the buccal swab requested by the

Government. Defendant has since done so, and both parties have conducted DNA

analyses using that sample. Accordingly,

      IT IS ORDERED that the “Oral Motion by Government for DNA Sample”

[12/22/11 Minute Entry], the “Motion to Compel DNA” [Dkt. # 14], and the second

“Motion to Compel DNA” [Dkt. # 22] are TERMINATED AS MOOT.


                                          s/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE
Dated: July 19, 2012
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 19, 2012, by electronic and/or ordinary mail.

                                                          s/Lisa G. Wagner
                                                         Case Manager and Deputy Clerk
                                                         (313) 234-5522




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